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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
LUZAR TRADING, S.A.,

                                   Petitioner,
                                                                          20 CIVIL 623 (KMW)
                 v.

TRADIVERSE CORPORATION,

                                    Respondent.
-------------------------------------------------------------X
-------------------------------------------------------------X
 TRADIVERSE CORPORATION,

                                   Petitioner,                            20 CIVIL 3387 (KMW)

                 v.                                                          JUDGMENT

LUZAR TRADING, S.A.,

                                    Respondent.
-----------------------------------------------------------X
    It is, ORDERED, ADJUDGED AND DECREED: That for the reasons stated in

the Court's Opinion and Order dated March 25, 2021, Luzar's petitions to confirm each arbitration

award are GRANTED. (No. 20-CV-623, ECF No. 1; No. 20-CV-3387, ECF No. 22.) Tradiverse's

corresponding petitions to vacate and its oral argument requests in connection with its petitions

are DENIED. (No. 20-CV-623, ECF No. 19; No. 20-CV-3387, ECF No. 1.); accordingly, the cases

are closed.

Dated: New York, New York
       March 29, 2021
                                                                          RUBY J. KRAJICK
                                                                      _________________________
                                                                           Clerk of Court
                                                                BY:
                                                                      _________________________
                                                                            Deputy Clerk
